        Case: 1:24-cv-06069 Document #: 15 Filed: 08/30/24 Page 1 of 5 PageID #:165




                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS


    In re the Matter to Enforce Subpoena                       )   Miscellaneous Action
    Issued to Crowe LLP                                        )
                                                               )   No. 1:24-cv-06069
                                                               )

     MOVANTS’ REPLY TO RESPONDENT CROWE’S OPPOSITION TO MOTION TO
                           ENFORCE SUBPOENA

           Movants1 respectfully submit their reply to Respondent Crowe’s opposition to Movant’s

motion to enforce the subpoena duces tecum duly served on Crowe.

A.         The Documents Sought Are Not Privileged Under the Applicable Law—Alabama
           Law.

           Crowe claims that all the documents requested are protected by the Illinois accountant-

client privilege, codified at 225 ILCS 450/27. Crowe, however, has erroneously assumed that

Illinois law governs this dispute.

           The underlying action is a diversity action brought in Alabama, where MPT—an

Alabama citizen—asserts claims against Movants—who are also not Illinois citizens—under

Alabama common and statutory law. In “a civil case, state law governs privilege regarding a

claim or defense for which state law provides the rule of decision.” Fed. R. Ev. 501. Because

Alabama law governs the claims and defenses in this case, Alabama’s privilege law applies. See

Dawson v. New York Life Ins. Co., 901 F. Supp. 1362, 1366 (N.D. Ill. 1995) (“Because this is a

diversity action in which Illinois law applies the rule of decision, the Court finds that Illinois law

on the attorney-client privilege governs.”); Central Die Casting and Mfg. Co. v. Tokheim Corp.,

1994 WL 444796, at *2 (N.D. Ill. 1994) (same); Robertson v. Yamaha Motor Corp., 143 F.R.D.




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    All capitalized and abbreviated terms used herein have the same meaning as set forth in Movants’ opening motion.


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     Case: 1:24-cv-06069 Document #: 15 Filed: 08/30/24 Page 2 of 5 PageID #:166




194, 197 (S.D. Ill. 1992) (“In civil cases based on diversity jurisdiction, a claim of privilege is

decided based on the state law which provides the rule of decision as to the claim or defense.”).

         There is no accountant-client privilege in Alabama. See Alabama Practice Series, Trial

Handbook for Alabama Lawyers § 26:17 (recognizing that there is no accountant-client privilege

under Alabama law). Therefore, Crowe’s accountant-client privilege claim fails.

         Importantly, Crowe cites no case supporting its contention that Illinois law applies here.

It simply relies on a choice-of-law provision in its engagement agreement with Steward that

provided that Illinois law would generally govern the parties’ relationships. But the issue here is

not what law should apply to a dispute between Steward and Crowe. Rather the issue is what law

applies to a dispute between Movants and Crowe—who are not parties to any contract—over

whether an evidentiary privilege applies in a suit pending in an Alabama federal court where all

claims are asserted under Alabama law. The Illinois statutory privilege simply does not apply

here.2

B.       Even if the Illinois Privilege Is Applied, Documents and Communications Given to
         or Received from Third Parties Are Not Privileged.

         Even if the Court were to apply the Illinois accountant-client privilege (which, as

discussed above, it should not), not all documents requested are protected by that privilege.

Illinois courts have held that while some documents related to audit services may be protected by

the privilege, the privilege does not protect documents communicated to or filed with third

parties, or documents received from third parties. See FMC Corp. v. Liberty Mut. Ins. Co., 603



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 While not relevant to the issue of whether Alabama law applies, it is important to note that Steward is
headquartered in Dallas, Texas and has no presence in Illinois. Texas also has no accountant-client evidentiary
privilege. See DAC Surgical Partners P.A. v. United Healthcare Services, Inc., 2014 WL 585750, at *4 (S.D. Tex.
2014) (“There is no accountant-client privilege in Texas.”). Although Crowe is headquartered in Illinois, Crowe
provides its services through more than 5,000 specialists from dozens of offices throughout the United States. See
Crowe’s “Our Offices” webpage (available at https://www.crowe.com/about-us/our-offices). Notably, Crowe has not
asserted that any of the work performed for Steward in this case was performed in Illinois.


                                                        2
     Case: 1:24-cv-06069 Document #: 15 Filed: 08/30/24 Page 3 of 5 PageID #:167




N.E.2d 716, 719-20 (Ill. App. 1992). Here, Movants’ requests specifically seek documents and

communications with third parties, including MPT. See, e.g., Subpoena (ECF #1-4), at Ex. A at

Requests 4-5. These communications with third parties must be produced even if the Court

applies the Illinois accountant-client privilege.

C.       The Subpoena Does Not Impose an Undue Burden.

         Crowe’s conclusory arguments that the subpoena poses an undue burden are without

merit. The subpoena seeks a discrete set of documents from a limited time period (2022 and

2023) related to auditing work that Crowe did pursuant to one specific engagement with

Steward. This is a narrowly tailored subpoena involving a presumably narrow set of custodians

from both Steward and Crowe. Indeed, Crowe has not provided any evidence suggesting the

contrary.

         Further, the documents sought are relevant. The statements that MPT claims were

defamatory in the underlying case include statements that Steward was insolvent (which it

clearly was given the fact that it is now in bankruptcy) and that MPT attempted to keep Steward

afloat through uncommercial transactions that effectively infused Steward with working capital

so it could, among other things, pay MPT rent. The audit work at issue is clearly relevant to

showing what funds Steward received from MPT and how it characterized those funds, as well as

what accounting irregularities were present at Steward such that Crowe could not complete the

audit.

         Finally, there is a substantial need for the documents. MPT has been unable, despite

demands from the SEC, to publish Steward’s audited 2022 financials because no auditor,

including Crowe, would sign off on them. The information behind the audit work is uniquely in

Steward and Crowe’s possession. Therefore, Movants cannot get the documents from MPT.




                                                    3
    Case: 1:24-cv-06069 Document #: 15 Filed: 08/30/24 Page 4 of 5 PageID #:168




Further, Steward is currently in Chapter 11 bankruptcy proceedings, so Movants cannot get those

documents from Steward. Thus, the only party Movants can get the requested documents from is

Crowe.

         For these reasons, the documents are not privileged, there is no undue burden, and Crowe

must produce the requested documents.


Dated: August 30, 2024

Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing was served on counsel of

record through the Court’s CM/ECF filing system.



                                                            /s/ Richard M. Elias
                                                            Richard M. Elias


                                                 4
Case: 1:24-cv-06069 Document #: 15 Filed: 08/30/24 Page 5 of 5 PageID #:169




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